 

 

 

 

 

 

 

 

 

 

 

PROB 22 Case 2:05-Cr-2040l-BBD Document 1 Filed OS/ll/OFPage 1 %CKEI§'§H&I’IEJR?TM CM)
(Rev. 2/88)
TRANSFER or JuRIsDIcTIoN §§ no 3=96-00136~°2
F\\.ED BY ---»'--' ‘ Doci<i~;r NUMBER (Rec. cwa
3 05 ' 251/61
NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE: T DIVISION
. ~ lt GOLlD
Horace B. BIBBS MUMQ§WM€ Nashville
971 Wlngfield NAME 0F sENTENcING JUDGE
' 2
Memphls , TN 3 812 Thomas A. Higgins, U.s. District Judge
DATES OF PROBATION/SUPERV|SED FROM TO
RELEASE:
04/15/05 04/14/10
OFFENSE

Conspiracy to Distribute and Possession with lntent to Distribute Metharnphetamine, 21 U.S.C. 846

 

PART l - ORDER TRANSFERRING JURISDICTION

 

UNlTED sTATEs DISTRICT couRr FOR THE Middle District of Tennessee

 

IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or supervised
releasee named above be transferred with the records of the Court to the United States District Court for the
Western District of Tennessee upon that COuI't'S

order of acceptance of jurisdiction This Court hereby expressly consents that the period of probation or supervised
release may be changed by the District Court to which this transfer is made without further inquiry of this Court.*

 

6 *2‘7-0}`/ 7;*“‘7 ad //";7_W

Date United Srates District Judge

 

*This sentence may be deleted in the discretion of the transferring Court.

 

PART 2 - ORDER ACC‘EPTING J`URISDICTION

 

UNITED sTATEs merch coLJRT FOR THE Western District of Tennessee

 

 

IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted
and assumed by this Court from and after the entry of this order.

 

05’
"' L

E cri`ve Date United States District Judge

 

 

  

Thls document entered on the docket shea
with Rule 55 and/or 32{b) FHCrP on

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number l in
case 2:05-CR-20401 vvas distributed by faX, mail, or direct printing on
November 18, 2005 to the parties listedl

 

 

Lavvrence J. Laurenzi

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

